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                                               SAMUEL R. MAIZEL (SBN 189301)
                                           2   TANIA M. MOYRON (SBN 235736)
                                               DENTONS US LLP                                              FILED & ENTERED
                                           3   601 South Figueroa Street, Suite 2500
                                               Los Angeles, California 90017-5704
                                           4   Telephone: (213) 623-9300; Facsimile: (213) 623-9924            DEC 22 2017
                                               Email : samuel.maizel@dentons.com; tania.moyron@dentons.com
                                           5   Attorneys for Official Committee of Equity Security Holders
                                                                                                                          CLERK U.S. BANKRUPTCY COURT
                                                                                                                          Central District of California
                                           6                                                                              BY Ogier      DEPUTY CLERK


                                           7
                                                                              UNITED STATES BANKRUPTCY COURT
                                           8                                   CENTRAL DISTRICT OF CALIFORNIA
                                                                                SAN FERNANDO VALLEY DIVISION
                                           9
                                               In re:                                                       Lead Case No.: 1:17-bk-12408-MB
                                          10                                                                Jointly administered with:
601 SOUTH FIGUEROA STREET , SUITE 2500
 LOS ANGELES , CALIFORNIA 90017-5704




                                                                                                            1:17-bk-12409-MB Chapter 11 Cases
                                          11   ICPW Liquidation Corporation, a California
                                               corporation,1
                                                                                                            ORDER ON (1) STIPULATION
         DENTONS US LLP




                                          12
                                                                                                            RESOLVING OBJECTION TO FIRST
            (213) 623-9300




                                          13                   Debtor and Debtor in Possession.             AND FINAL APPLICATION FOR
                                                                                                            COMPENSATION AND
                                          14   In re:                                                       REIMBURSEMENT OF EXPENSES
                                                                                                            FOR PROVINCE, INC. AS FINANCIAL
                                          15   ICPW Liquidation Corporation, a Nevada
                                               corporation,2                                                ADVISOR TO THE OFFICIAL
                                                                                                            COMMITTEE OF UNSECURED
                                          16
                                                               Debtor and Debtor in Possession.             CREDITORS FOR THE PERIOD
                                          17                                                                SEPTEMBER 22, 2017 THROUGH
                                                    Affects:                                                NOVEMBER 10, 2017 [DKT. 358], AND
                                          18                                                                (2) FIRST AND FINAL APPLICATION
                                                      Both Debtors                                          FOR COMPENSATION AND
                                          19                                                                REIMBURSEMENT OF EXPENSES
                                                   ICPW Liquidation Corporation, a California
                                               corporation                                                  FOR PROVINCE, INC. [DKT. 245]
                                          20
                                          21       ICPW Liquidation Corporation, a Nevada                   DATE:        December 12, 2017
                                               corporation.                                                 TIME:        1:30 p.m.
                                          22                                                                PLACE:       Courtroom “303”
                                                                                                                         21041 Burbank Blvd.
                                          23                                                                             Woodland Hills, CA 91367
                                          24

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                                          28   1
                                                   Formerly known as Ironclad Performance Wear Corporation, a California corporation.
                                               2
                                                   Formerly known as Ironclad Performance Wear Corporation, a Nevada corporation.

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                                           1               The Court, having reviewed and considered the Stipulation Resolving Objection to First

                                           2   and Final Application for Compensation and Reimbursement of Expenses for Province, Inc. as

                                           3   Financial Advisor to the Official Committee of Unsecured Creditors for the Period September 22,

                                           4   2017 through November 10, 2017 [Dkt. 358] (the “Stipulation”) entered into by Province, Inc.

                                           5   (“Province”), fee applicant and financial advisor to the Official Committee of Unsecured

                                           6   Creditors, the above-captioned chapter 11 debtors and debtors in possession (the “Debtors”) and

                                           7   the Official Committee of Equity Security Holders (the “Equity Committee”), and good cause

                                           8   appearing therefore,

                                           9               IT IS HEREBY ORDERED:

                                          10               1.      The Stipulation is approved.3
601 SOUTH FIGUEROA STREET , SUITE 2500
 LOS ANGELES , CALIFORNIA 90017-5704




                                          11               2.      Province’s request for approval of fees and expenses in connection with its First
         DENTONS US LLP




                                          12   and Final Application for Compensation and Reimbursement of Expenses as Financial Advisor to
            (213) 623-9300




                                          13   the Official Committee of Unsecured Creditors for the Period September 22, 2017 through

                                          14   November 10, 2017 [Dkt. 245] (the “Fee Application”) is reduced pursuant to the terms of the

                                          15   Stipulation to the total amount of $70,000.

                                          16               3.      In connection with the Fee Application, Province is hereby awarded final fees and

                                          17   expenses in the amount of $70,000 for the time period September 22, 2017 through and including

                                          18   November 10, 2017. Province is authorized to be paid the sum of $70,000 as set forth in

                                          19   Paragraph 8 below. This Order constitutes the final order on the Fee Application.

                                          20               4.      Upon entry of this Order, the Joint Objection to the First and Final Application for
                                          21   Compensation and Reimbursement of Expenses for Province, Inc. as Financial Advisor to the

                                          22   Official Committee of Unsecured Creditors for the Period September 22, 2017 Through

                                          23   November 10, 2017 [Dkt. 270] filed by the Debtors and the Equity Committee is deemed

                                          24   withdrawn, and the continued hearing scheduled on February 6, 2018 is hereby taken off

                                          25   calendar.

                                          26               5.      Province shall have no other claim (including any additional administrative claim
                                          27   or any other type of claim) in these Cases.
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                                                   Any capitalized terms that are not defined in this Order have the same meaning ascribed to them in the Stipulation.

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                                           1               6.   The Stipulation and this Order are deemed effective immediately upon entry of

                                           2   this Order, and the terms of the Stipulation and this Order are binding upon all affected parties,

                                           3   including, but not limited by, any subsequently appointed chapter 11 or chapter 7 trustee.

                                           4               7.   This Court retains jurisdiction over the subject matter of the Stipulation and this

                                           5   Order in order to resolve any dispute in connection with the rights and duties specified therein.

                                           6               8.   Upon entry of this Order and no later than December 31, 2017, Levene, Neale,

                                           7   Bender, Yoo & Bill L.L.P. (“LNBYB”), bankruptcy counsel for the Debtors, which is serving as

                                           8   the Escrow Agent in these Cases, is authorized to pay, and shall pay, the $70,000 to Province out

                                           9   of the Debtors’ funds that LNBYB is holding in a segregated trust account.

                                          10               IT IS SO ORDERED.
601 SOUTH FIGUEROA STREET , SUITE 2500
 LOS ANGELES , CALIFORNIA 90017-5704




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         DENTONS US LLP




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            (213) 623-9300




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                                               Date: December 22, 2017
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